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                               CLEARY | GIACOBBE | ALFIERI | JACOBS LLC
                                                                               CAMERON R. MORGAN, Partner
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                                                                                  Reply to: Haddonfield Office



                                               November 22, 2024

                                                                                               Via ECF
                                                                                    and First Class Mail
   Honorable Michael A. Shipp, U.S.D.J.
   Clarkson S. Fisher Building
   & U.S. Courthouse
   402 E. State Street
   Trenton, New Jersey 08608

          Re:     J.C.M. and M.H.G, individually and o/b/o M.C.H. v. Franklin Township BOE
                  USDC Docket No. 3:24-CV-10139-MAS-RLS

   Dear Judge Shipp:

          This office represents Defendant, Franklin Township Board of Education, in connection with the
   above-captioned matter. Enclosed for Your Honor’s consideration is a proposed Stipulation extending
   time for Defendant to answer, move or otherwise reply to Plaintiffs’ Complaint from
   November 25, 2024 to December 26, 2024. The proposed Stipulation has been electronically filed with
   the Court.

          If the proposed Stipulation meets the Court’s approval, we respectfully request that Your Honor
   execute the same and have it entered on the docket. We thank the Court for its assistance and
   cooperation in this matter.

                                               Respectfully submitted,

                                               s/ Cameron Morgan

                                               Cameron R. Morgan
   TB
   Enclosure
   c:     David R. Giles, Esq. (w/enclosure via ECF)



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